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Limetree Bay Services, LLC et al., Case No.: 21-32351 (Jointly Administered)
United States Bankruptcy Court
Southern District of Texas (Houston)
Schedule of Insurance Policies - As of October 31, 2021

           Insured                             Insurer                          Type                        Coverage Amount              Policy Number       Expiration Date
Limetree Bay Refining, LLC   Allianz Global Risk US Insurance          Combined Property            Primary $1.25BN                  USN00023920               2021.12.01
                             Company
Limetree Bay Refining, LLC   Axis (Endorsement)                        Builder's Risk               $50M                                EAU646295/01/2020      2021.12.01
Limetree Bay Refining, LLC   CIN 318/Guardian General Insurance        Combined Property            $50M XS $50M                        BO509ENGAO2000576      2021.12.01
Limetree Bay Refining, LLC   Convex Insurance UK Limited               Combined Property            Primary $1.25BN (reduced to a limit B0509ENGAO2000069      2021.12.01
                                                                                                    of $250 million on August 20, 2021)
Limetree Bay Services, LLC   Liberty                                   Worker's Comp                                                    WCC-641-444917-020     2021.12.01
Limetree Bay Refining, LLC   Hannover Re/HDI Global Specialty SE       Combined Property            Primary $1.25BN                     B0509ENGAO2000069      2021.12.01
Limetree Bay Refining, LLC   Helvetia/Helvetia Swiss Insurance Co in   Combined Property            Primary $1.25BN                     B0509ENGAO2000069      2021.12.01
                             Liechtenstein Ltd
Limetree Bay Refining, LLC   HSIC/Houston Specialty Insurance          Combined Property            $150M XS 50M                     PRO440373                 2021.12.01
                             Company
Limetree Bay Refining, LLC   LSM/Liberty Specialty Markets Agency      Combined Property            $100M XS $100M                   LSMAEN143232A             2021.12.01
                             Limited
Limetree Bay Refining, LLC   Munich Re/Great Lakes Insurance SE        Combined Property            Primary $1.25BN                  B0509ENGAO2000069         2021.12.01
Limetree Bay Refining, LLC   PICC/Guardian General Insurance           Combined Property            $100M XS $100M                   DWF54020                  2021.12.01
Limetree Bay Refining, LLC   QBE/Lloyds of London                      Combined Property            Primary $1.25BN                  B0509ENGAO2000069         2021.12.01
Limetree Bay Refining, LLC   Rokstone/Guardian General Insurance       Combined Property            $50M XS $50M                     BO509ENGAO2000576         2021.12.01
Limetree Bay Refining, LLC   Sompo/Lloyds of London                    Combined Property            Primary $1.25BN                  B0509ENGAO2000069         2021.12.01
Limetree Bay Refining, LLC   Swiss Re/Westport Insurance Company       Combined Property            Primary $500M                    OMP 2000425-00            2021.12.01
Limetree Bay Refining, LLC   Westchester Surplus Lines Ins Co/Starr    Combined Property            Primary $500M                    EPRN18215263              2021.12.01
                             Technical Risks Agency, Inc
Limetree Bay Refining, LLC   WRB/Guardian General Insurance            Combined Property            $50M XS $50M                     DWF54020                  2021.12.01
Limetree Bay Refining, LLC   Zurich/Zurich American Insurance          Combined Property            Primary $100M                    OGR 1296457-00            2021.12.01
                             Company
Limetree Bay Refining, LLC   Arcadian/Ark/Helix Bermuda                Builder's Risk               $25M xs $100M                    NAMBM2100005              2022.06.01
Limetree Bay Refining, LLC   Allianz                                   Refinery Excess Liability    $15M xs $53M                     USL00880520               2021.12.01
Limetree Bay Refining, LLC   Allianz                                   Environmental Liability      $15M xs $85M                     USL00873320               2021.12.01
Limetree Bay Refining, LLC   Liberty                                   Refinery Primary Liability                                    AS6-641-444917-010        2021.12.01
Limetree Bay Refining, LLC   Travelers Syndicate                       Refinery Primary Liability                                    ENCAS2000012              2021.12.01
Limetree Bay Refining, LLC   Chaucer/Apollo                            Refinery Excess Liability    $15M                             ENCAS2000011              2021.12.01
Limetree Bay Refining, LLC   Westchester                               Refinery Excess Liability    $3M xs $25M                      G71809808001              2021.12.01
Limetree Bay Refining, LLC   Ironshore                                 Refinery Excess Liability    $25M xs $28M                     4380100                   2021.12.01
Limetree Bay Refining, LLC   Chaucer                                   Refinery Excess Liability    $11M po $22M xs $68M             ENCAS2000020              2021.12.01
Limetree Bay Refining, LLC   Lex-London                                Refinery Excess Liability    $11M po $22M xs $68M             62785689                  2021.12.01
Limetree Bay Refining, LLC   OSL                                       Refinery Excess Liability    $10M xs $90M                     EXS-154724-00             2021.12.01
Limetree Bay Refining, LLC   AXA XL Bermuda                            Refinery Excess Liability    $25M xs $125M                    XLUMB-229978              2021.12.01
Limetree Bay Refining, LLC   OCIL Bermuda                              Refinery Excess Liability    $25M po $40M xs $150M            U920968-0620              2021.12.01
Limetree Bay Refining, LLC   Sompo Bermuda                             Refinery Excess Liability    $15M po $40M xs $150M            EXC30001524800            2021.12.01
Limetree Bay Refining, LLC   Argo Bermuda                              Refinery Excess Liability    $15M po $50M xs $190M            ARGO-CAS-OR-001484        2021.12.01



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Limetree Bay Services, LLC et al., Case No.: 21-32351 (Jointly Administered)
United States Bankruptcy Court
Southern District of Texas (Houston)
Schedule of Insurance Policies - As of October 31, 2021

           Insured                                 Insurer                            Type                     Coverage Amount                    Policy Number              Expiration Date
Limetree Bay Refining, LLC      Arch Bermuda                               Refinery Excess Liability   $15M po $50M xs $190M                 URP0065257-00                     2021.12.01
Limetree Bay Refining, LLC      Markel Bermuda                             Refinery Excess Liability   $12.5M po $50M xs $190M               1454233-11636-UMB-2020            2021.12.01
Limetree Bay Refining, LLC      Hamilton Bermuda                           Refinery Excess Liability   $7.5M po $50M xs $190M                CX20-9216                         2021.12.01
Limetree Bay Refining, LLC      Chubb Bermuda                              Refinery Excess Liability   $15M po $30M xs $240M                 LBR-2144/XS004                    2021.12.01
Limetree Bay Refining, LLC      Liberty Bermuda                            Refinery Excess Liability   $15M po $30M xs $240M                 LSMAEC119907A                     2021.12.01
Limetree Bay Refining, LLC      Lloyd's Underwriters                       Environmental Liability     $1M                                   ENVP0000296-20                    2021.12.01
Limetree Bay Refining, LLC      Lloyd's Underwriters                       Environmental Liability     $9M xs $1M                            ENVX0000256-20                    2021.12.01
Limetree Bay Refining, LLC      Ironshore                                  Environmental Liability     $25M xs $10M                          262704                            2021.12.01
Limetree Bay Refining, LLC      Ascot                                      Environmental Liability     $25M xs $35M                          ENXP2110000428-01                 2021.12.01
Limetree Bay Refining, LLC      Markel                                     Environmental Liability     $25M xs $60M                          MKLV4EFX102259                    2021.12.01
Limetree Bay Refining, LLC      Federal Insurance Company                  Executive Risk              $5M                                   8261-8347                         2022.04.20
Limetree Bay Refining, LLC      Starr Indemnity & Liability                Executive Risk              $5M                                   1000623319211                     2022.04.20
Limetree Bay Refining, LLC      Wesco Insurance Company                    Executive Risk              $5M                                   EUW1909831 00                     2022.04.20
Limetree Bay Refining, LLC      Starr Indemnity & Liability                Executive Risk              $5M                                   1000622392201                     2027.04.20
Limetree Bay Refining, LLC      Federal Insurance Company                  Executive Risk              $5M                                   8247-1536                         2027.04.20
Limetree Bay Refining, LLC      First Liberty Insurance Co                 Auto Liability              $2M                                   AS6-641-444917-010                2021.12.01

Notes:
(1) The auto liability policy will be audited during December 2021. A premium will be due for autos assigned to LBR for the period from June 1, 2021 through December 31, 2021
(2) Audit premiums are expected to be invoiced for non-current insurance policies including the Builders All Risk policy and OCIP. As of the filing of the monthly operating report, the audit
amounts have not been determined.
(3) December 1, 2021 is an expiration date for the remaining 63.5% of the property insurance program insuring the Refinery. It is not presently being marketed, LBR assumes the risk for
30% of a $50 million primary section of the insurance program.




B. Riley Advisory Services                                                                                                                                                                       Page 2 of 2
